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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF RHODE ISLAND

 WOONASQUATUCKET RIVER
 WATERSHED COUNCIL, et al.,

                           Plaintiffs,

              v.                                    Civil Action No. 1:25-cv-97 (MSM)

 DEPARTMENT OF AGRICULTURE,
 et al.,

                            Defendants.


           DEFENDANTS’ FOURTH STATUS REPORT REGARDING
                    PRELIMINARY INJUNCTION

       Consistent with the instructions provided during the status conference of

 April 25, 2025, as well as the Court’s Order of April 28, 2025, see ECF No. 58,

 Defendants respectfully submit this status report regarding their compliance with

 the preliminary injunction.

       Defendants respectfully submit that the below information—as supported by

 the attached declarations—demonstrates full compliance with the Court’s Order, and

 thus no further updates or compliance-related proceedings are necessary beyond the

 status conference previously scheduled for May 5, 2025.

 I.    U.S. DEPARTMENT OF THE INTERIOR

       As the Court’s April 28 Order noted, Interior had previously “identified 650

 IIJA or IRA grants . . . that have been unpaused as of April 25,” and Interior expected

 to complete its efforts in identifying additional grants needing to be unpaused, “as

 well as its efforts to comply with notice requirements . . . by this Friday, May 2.” ECF



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 No. 58 at 2. As the attached Supplemental Whitehead Declaration reflects, Interior

 believes it is now in full compliance with the Court’s Order.

           Specifically, in addition to the 650 previously identified grants, Interior’s

 various bureaus have identified more awards that were paused, and which Interior

 has now unpaused.          See Suppl. Whitehead Decl. ¶¶ 5-11, 14.        Overall, “[t]he

 Department has completed its review and analysis for each of constituent bureaus

 and offices, ultimately individually unpausing 1,422 awards with unobligated

 balances of over $713 million.” Id. ¶ 15. Thus, “[t]he Department believes it is in

 compliance with the unpausing provision of the Order.” Id.

           As for notice to grantees, Interior has now completed those efforts as well. See

 id. ¶¶ 18-19. Thus, Defendants do not believe there are any further compliance issues

 regarding Interior.

 II.       U.S. DEPARTMENT OF AGRICULTURE

           The Court’s April 28 Order directed USDA to address the following issues:

 (a) “how many IIJA and IRA grants (of the 42,627 identified so far) are unfrozen”;

 (b) “how USDA understands ‘already-awarded’ grants”; (c) “further explain the

 ‘individualized review’ process for keeping those 309 grants frozen”; and

 (d) “summarize all progress with compliance since the last conference.” ECF No. 58

 at 3-4.        Defendants address each topic in turn, as supported by the attached

 Supplemental Whitney Declaration.

           A.      Number of Grants Unfrozen.

           Aside from the grants that remain frozen because they were individually

 reviewed and identified as inconsistent with the Secretary’s priorities, USDA has


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 unfrozen all of the other awards funded by either the IRA or IIJA. See Suppl. Whitney

 Decl. ¶ 4. Previously, USDA had identified 309 IRA/IIJA-funded awards as being

 frozen pursuant to that individualized review, though the current number is only

 34 awards. See id. ¶¶ 5-6.

       B.     “Already-Awarded” Grants.

       USDA understands the term “already-awarded” grants to mean those for

 which the agency has (1) selected a specific recipient, and (2) obligated funding to

 that recipient. See Suppl. Whitney Decl. ¶ 8.

       With respect to the latter requirement, that is consistent with the usual

 meaning of an “award,” which is typically not something contingent or dependent on

 future decisions. See, e.g. Black’s Law Dictionary, “award” (12th ed. 2024) (“A final

 judgment or decision, esp. one by an arbitrator or by a jury assessing damages.”);

 Merriam-Webster Dictionary, https://www.merriam-webster.com/dictionary/award

 (“something that is conferred or bestowed especially on the basis of merit or need” or

 “a judgment or final decision”). Thus, until a grant has become “an obligation of the

 United States Government,” 31 U.S.C. § 1501(a), the grant has not been “awarded”

 as USDA understands that term. Cf. GAO, A Glossary of Terms Used in the Federal

 Budget Process (Sep. 2005), https://www.gao.gov/assets/gao-05-734sp.pdf, at 70

 (defining “obligation” as “[a] definite commitment that creates a legal liability of the

 government for the payment of goods and services ordered or received” and stating

 that “[a]n agency incurs an obligation, for example, when it places an order, signs a

 contract, awards a grant, purchases a service, or takes other actions that require the

 government to make payments to the public” (emphasis added)).


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       This definition is consistent with the Court’s injunction applying to Codman

 Square Neighborhood Development Corporation, which was specifically selected for

 a grant and was obligated a specific amount of funding prior to the Court’s injunction.

 See ECF No. 26-3 ¶ 9 (“HUD awarded us the grant in November, and we received the

 award letter. The grant is for $750,000[.] . . . We countersigned the Elements Award

 Commitment letter in November and sent it back.”).

       This definition is also consistent with the Court’s rationale in its preliminary-

 injunction decision, in which the Court reasoned that “without injunctive relief . . .

 the funding that the Nonprofits are owed (based on the Agencies’ own past

 commitments) creates an indefinite limbo.” ECF No. 45 at 56. If an agency has not

 yet obligated a specific amount of funding to a particular recipient, however, there is

 no “past commitment[]” by the agency nor is the recipient “owed” any such funding.

 Finally, this definition is also consistent with the scope of Chief Judge McConnell’s

 injunction, which likewise applies only to obligated funding. See New York v. Trump,

 No. 25-cv-39, 2025 WL 715621, at *16 (D. R.I. Mar. 6, 2025) (“The Agency Defendants

 are enjoined from pausing, freezing, blocking, canceling, suspending, terminating, or

 otherwise impeding the disbursement of appropriated federal funds to the States

 under awarded grants, executed contracts, or other executed financial obligations[.]”

 (emphasis added)); see also id. at *2 (discussing obligations of funding); id. at *16

 (“The Defendants are not harmed where the order requires them to disburse funds

 that Congress has appropriated to the States and that they have obligated.” (emphasis

 added)). Accordingly, “already awarded” grants is best understood as requiring both




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 that the agency has (1) selected a specific recipient, and (2) obligated funding to that

 recipient.

       With respect to the USDA e-mail that Plaintiffs previously attached, see ECF

 No. 55-1, most of that e-mail reflects that not-yet-obligated funding is not required to

 continue. E.g., id. at 1 (“The using of IRA and IIJA funds applies to the payment of

 previously approved contracts, grants, and agreements. There is no authority to enter

 new obligations, contracts, grants, or agreements using IRA and IIJA funds.”); id.

 (“We are still unable to execute any new obligations with IRA funding at this time[.]”).

       Plaintiffs previously raised concerns about the following sentence in that

 email: “IRA-funded RCPP projects that do not yet have an executed agreement (we

 have one project in RI) in place should remain paused.” Id. As discussed in the

 Supplemental Whitney Declaration, however, USDA’s Regional Conservation

 Partnership Program (RCPP) projects do not involve obligated funding until there is

 an executed supplemental agreement. See Suppl. Whitney Decl. ¶ 10. Indeed, for

 the RCPP project mentioned in that e-mail—i.e., the project in Rhode Island—USDA

 has not committed any funds, and neither party has signed any funding agreement.

 Id. ¶¶ 11-13.1 Although an over-arching programmatic partnership agreement has

 been signed, that agreement only defines the relationship between the agency and




       1 For clarity, the Court’s April 28 Order appears to assume that this RCPP

 issue pertains to the Eastern Rhode Island Conservation District, see ECF No. 58
 at 3-4, but the particular project referenced in this e-mail does not involve the
 Eastern Rhode Island Conservation District or any other identified plaintiff entity.
 See Suppl. Whitney Decl. ¶¶ 11-12.

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 the Lead Partner entity, but that agreement does not award any specific funding for

 any particular project. See id. ¶ 10.

       Thus, this project is fundamentally different from Codman Square because,

 unlike Codman Square, no particular funding has been obligated for this project. See

 Suppl. Whitney Decl. ¶ 13. USDA therefore does not understand the Court’s Order

 to require it to continue moving forward with negotiating a supplemental agreement

 and obligating new funding for this project. Id. Extending the Court’s injunction to

 this project would improperly convert the Court’s Order into a command that agencies

 obligate new funding and would require agencies to negotiate grantee funding

 amounts (and other aspects of the grantee relationship) under potential penalty of

 contempt.

       C.     Individualized Review Process.

       Defendants do not believe that further inquiry into USDA’s individualized

 review process is necessary or appropriate, given that the Court has already agreed

 that grants may “remain frozen . . . based on a pre-existing determination (from

 before entry of the preliminary injunction) to pause that funding on an individualized

 basis for some other, independent reason (apart from the fact that it was appropriated

 under the IRA/IIJA),” ECF No. 52 at 5, and USDA has already submitted a sworn

 declaration confirming that the remaining paused grants meet those criteria, ECF

 No. 56-2 ¶ 16.

       Nonetheless, in compliance with the Court’s Order, the Supplemental Whitney

 Declaration provides further detail about USDA’s individualized review process. See

 Suppl. Whitney Decl. ¶¶ 14-19. The individualized nature of this review involved


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 several award-specific considerations—such as whether any equity-related term in

 the award was, in fact, related to DEI issues; whether any racial, ethnic, or gender

 preferences in the awards were statutorily required; and the recommendation for how

 to address any DEI-related issues in the awards. Id. ¶¶ 16-18. In light of this

 additional information, there can be no serious doubt that this review process was

 genuinely individualized and therefore the pauses stemming from that review are

 outside the scope of this case and the Court’s injunction.

        D.    Payment Update.

        Consistent with the Court’s instruction for USDA to “summarize all progress

 with compliance since the last conference,” ECF No. 58 at 4, the Supplemental

 Whitney Declaration also provides an update on USDA’s progress in processing

 payment requests.    See Suppl. Whitney Decl. ¶¶ 20-23. Specifically, USDA has

 “devoted extra resources to processing . . . invoices and payments” for IRA/IIJA-

 funded awards, id. ¶ 20, and based on those efforts “all agencies with IRA- or IIJA-

 funded awards have indicated that they are caught up with their backlogs associated

 with those funds.” Id. ¶ 23. Thus, Defendants respectfully submit that USDA is in

 full compliance with the Court’s Order.

 III.   U.S. ENVIRONMENTAL PROTECTION AGENCY

        As the Court’s April 28 Order reflects, EPA previously disclosed that it had

 kept certain grants paused because the agency intended to terminate them. See ECF

 No. 58 at 4; see also Coogan Decl. (ECF No. 51-1) ¶¶ 3-7. The Court “ordered these

 funds unfrozen until they are definitively terminated consistent with 2 C.F.R.

 § 200.341(a) and other applicable regulations.” ECF No. 58 at 4. The Court then


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 directed EPA, in this status report, “to confirm that all of EPA’s IIJA and IRA funds

 are unfrozen pending termination,” and also to “detail EPA’s efforts to notice

 remaining Nonprofits of any impending terminations.” Id. at 5.

       As discussed in the attached Supplemental Coogan Declaration, EPA has now

 unpaused those funds that are not yet terminated. See Suppl. Coogan Decl. ¶ 3. In

 particular, EPA “has restored access to funding” for over $2 billion in funding for

 recipients in the grant programs that are intended to be terminated. Id.

       As also discussed, EPA is continuing to move forward with the process of

 terminating such grants. Id. ¶ 6. Specifically, “[o]ut of the 404 awards slated for

 termination mentioned in . . . my April 25th Declaration . . . EPA has sent

 termination notices to 57 recipients” and “expects approximately 300 notices to be

 sent out by the end of the day on May 9th, 2025.” Id.

       Once a grant is terminated, EPA then “disables the recipient’s access to

 drawing down funds in ASAP.”         Id. ¶ 4.   Under the regulations, “[a] grant is

 terminated when EPA provides written notice of the termination to the recipient,”

 because “[t]he effective date [of termination] is the date that the written notice is

 sent,” id. ¶ 4, and EPA’s dispute procedures occur after the termination, id. ¶ 5. Even

 as a dispute proceeds, “[t]he termination remains effective.” Id. ¶ 5.

       Thus, EPA has unpaused funding for grants that are not-yet-terminated,

 though EPA is continuing to move forward with terminating grants and disabling

 those terminated grantees’ access to funding in ASAP. This approach comports with




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 the Court’s Order prohibiting continued pauses pending a future termination, and

 thus EPA respectfully submits it is in full compliance with the Court’s injunction.

                                    *      *      *

       Defendants believe that all agencies are in compliance with the Court’s Order,

 and thus there is no need for any further inquiry or updates beyond the status

 conference previously scheduled for May 5, 2025.



 Dated: May 2, 2025                     Respectfully submitted,

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                          CERTIFICATION OF SERVICE

         I hereby certify that on May 2, 2025, I electronically filed the within
  Certification with the Clerk of the United States District Court for the District of
  Rhode Island using the CM/ECF System, thereby serving it on all registered users in
  accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.



                                                 /s/ Daniel Schwei
                                                 Daniel Schwei




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